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8                                     UNITED STATES DISTRICT COURT
9                                CENTRAL DISTRICT OF CALIFORNIA
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11    IDRIS L CURRY,                            )   Case No. CV 21-1173 FMO (MAAx)
                                                )
12                       Plaintiff,             )
                                                )
13                v.                            )   JUDGMENT
                                                )
14    THE SECRETARY OF HOUSING AND              )
      URBAN DEVELOPMENT, et al.,                )
15                                              )
                         Defendants.            )
16                                              )
17          IT IS ADJUDGED THAT the above-captioned action is dismissed without prejudice.
18    Dated this 24th day of November, 2021.
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20
                                                                         /s/
21                                                               Fernando M. Olguin
                                                             United States District Judge
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